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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


DUSTIN DON BADGER,                      )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )       1:15-cv-00517-JAW
                                        )
CORRECT CARE SOLUTIONS,                 )
et al.,                                 )
                                        )
            Defendants.                 )


                         ORDER ON MOTION TO DISMISS

      Although the Plaintiff filed no response to the Defendants’ Motion to Dismiss,

the Court nevertheless reviewed the merits of the motion and concludes that the

Plaintiff, a former prisoner at the Maine State Prison, has failed to state a claim for

which relief can be granted. The Court dismisses his Complaint against two

Correctional Officers.

I.    BACKGROUND

      A.     Procedural History

      Dustin Don Badger was a prisoner incarcerated at the Maine State Prison

when on December 21, 2015, he filed a complaint against Correct Care Solutions

(CCS), Maine State Prison Medical Department, and Correctional Officers Mayer

and Manning.     Compl. (ECF No. 1).        Mr. Badger’s Complaint was grounded in

allegations of failures by CCS and Maine State Prison staff to provide him adequate

emergency services.      Id.   On February 2, 2016, CCS filed a motion to dismiss
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pursuant to Federal Rule of Civil Procedure 12(b)(1), asserting that Mr. Badger

failed to comply with mandatory pre-litigation requirements set forth in the Maine

Health Security Act, 24 M.R.S. §§ 2851-2859. Mot. to Dismiss of Defs. Correct Care

Solutions at 1-4 (ECF No. 15). On February 5, 2016, the Office of the Attorney

General declined service of the complaint on the Maine State Prison Medical

Department claiming “there is no such legal entity.” Declination of Service at 1

(ECF No. 17). The Magistrate Judge issued a Recommended Decision on February

17, 2016, recommending that the Court dismiss the Maine State Prion Medical

Department as a party-defendant because it was not a legal entity from which Mr.

Badger could obtain relief. Recommended Decision at 2 (ECF No. 18) (Rec. Dec. I).

On February 22, 2016, Officers Manning and Mayer moved for summary judgment

and to dismiss pursuant to Federal Rules of Civil Procedure 56(a) and 12(b)(6) and

provided a single statement of fact. Mot. to Dismiss and for Summ. J. at 1-5 (ECF

No. 19) (Defs.’ Mot.); Statement of Fact (ECF No. 20). The Magistrate Judge issued

a second Recommended Decision on March 7, 2016, recommending that the Court

grant the motion to dismiss Mr. Badger’s claim against CCS without prejudice.

Recommended Decision at 4 (ECF No. 26) (Rec. Dec. II).       Mr. Badger filed no

responses to any of the parties’ motions, nor any objections to the Magistrate

Judge’s Recommended Decisions.

      On March 30, 2016, the Court issued an order affirming the Magistrate

Judge’s Recommended Decisions, dismissing the Maine State Prison Medical

Department as a party-defendant and dismissing without prejudice Mr. Badger’s



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claim against CCS. Order Affirming the Recommended Decision of the Magistrate

Judge (ECF No. 28). All that remains is Officers Manning and Mayer’s motion to

dismiss. Defs.’ Mot.

      B.     Factual Background

      The Court has derived these facts from Mr. Badger’s Complaint (ECF No. 1).

His factual allegations are deemed true when evaluating a motion to dismiss.

Beddall v. State St. Bank & Trust Co., 137 F.3d 12, 16 (1st Cir. 1998).

      At the time of the events alleged in the Complaint, Mr. Badger was a

prisoner incarcerated at the Maine State Prison. Compl. at 2. On November 20,

2015, Mr. Badger felt like he was going to faint and pressed his medical emergency

button. Compl. Attach. 1 Aff. of Dustin Badger at 1 (ECF No. 1) (Pl.’s Aff.). Officer

William Mayer arrived at his cell three minutes later and asked him what the

emergency was. Id. Mr. Badger told Officer Mayer he felt as if he was going to

faint, and Officer Mayer told him to lie down and he would feel fine. Id. Mr.

Badger suddenly had chest pains and again pressed the emergency button. Id.

Officer Mayer then got on the phone and asked what to do. Id. Officer Mayer called

a medical ICS and medical personnel showed up 5 to 6 minutes later. Id. Officer

Jeremiah Manning, another corrections officer, then told Mr. Badger to cuff up and

kneel on his bunk facing the wall. Mr. Badger told Officer Manning that he had

chest pains and Officer Manning threatened him with chemical agents and was

verbally abusive. Id. Mr. Badger was then placed in four point restraints and




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taken to a medical evaluation in a wheelchair. Id. His blood pressure and lungs

were checked and he was given Tylenol and returned to his cell. Id.

      On November 21, 2015, Mr. Badger pressed his medical emergency button

and told Officer Manning he was having chest pains.             Id.   Officer Manning

continued to do his rounds and Mr. Badger pushed his emergency button again

because he was still having chest pains. Id. Officer Manning responded and called

the medical department, placed Mr. Badger in restraints, and made him walk to the

elevator without any attention from medical staff.        Id.   He was brought to a

receiving area and evaluated by two nurses, who checked his blood pressure but

refused to perform an EKG. Id. at 2.

      Mr. Badger was released from the Maine State Prison on February 5, 2016.

Statement of Fact at 1 (ECF No. 20).

II.   THE PARTIES’ POSITIONS

      A.     Mr. Badger’s Complaint

      In his Complaint, Mr. Badger asks that Defendants Mayer and Manning be

fired and that they lose their professional certifications. Pl.’s Aff. at 2. He also

requests “any and all applicable injunctive relief . . . [a]ttorney fees, monetary

damages,” as well as punitive, compensatory and nominal damages for “severe

physical, mental and emotional distress.” Id.

      B.     Defendants’ Motion to Dismiss

      The Defendants turn to the Prison Litigation Reform Act (PLRA), which

states that “[n]o Federal civil action may be brought by a prisoner confined in a jail,



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prison, or other correctional facility, for mental or emotional injury suffered while in

custody without a prior showing of physical injury.”         Defs.’ Mot. at 3 (citing 42

U.S.C. § 1997e(e)).    The Defendants argue that the PLRA requires any alleged

physical injury claim to be more than de minimis, and that Mr. Badger has not

alleged that any of his discomfort or pain was caused or exacerbated by their

actions, nor has he contended that any of their actions caused him physical injury.

Id. at 4.

       Moreover, the Defendants argue that “[a]n inmate’s transfer from a prison

facility generally moots claims for declaratory and injunctive relief against officials

of that facility.” Id. (citations omitted). As such, because Mr. Badger is no longer

incarcerated, the Defendants assert that his request that they lose their jobs and

certifications, and all other requests for injunctive relief, are moot. Id. at 4-5.

       Lastly, the Defendants contend that “fear or emotional distress resulting

solely from verbal harassment is not sufficient to support a claim under § 1983,”

and thus Mr. Badger’s “claim that defendant Manning used abusive language

toward him does not state a claim for which relief can be granted.”              Id. at 5

(citations omitted).   Further, the Defendants assert that “[i]n order to recover

punitive damages under 42 U.S.C. § 1983, a plaintiff must show that the defendant

acted with evil intent or callous or reckless indifference to plaintiff’s federally

protected rights,” and that Mr. Badger “has at most shown that defendants were not

as attentive to plaintiff’s medical complaints as plaintiff would have hoped.” Id.

(citations omitted).



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III.   LEGAL STANDARD

       A.      12(b)(6) Motion to Dismiss

       When evaluating a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted, a court must

determine “whether, construing the well-pleaded facts of the complaint in the light

most favorable to the plaintiffs, the complaint states a claim for which relief can be

granted.” Ocasio–Hernández v. Fortuño–Burset, 640 F.3d 1, 7 (1st Cir. 2011) (citing

FED. R. CIV. P. 12(b)(6)).      A court need not assume the truth of conclusory

allegations, and the complaint must state at least a “plausible claim for relief.”

Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009). However, “[n]on-conclusory factual

allegations in the complaint must . . . be treated as true, even if seemingly

incredible.”   Ocasio–Hernández, 640 F.3d at 12.        A court may not “attempt to

forecast a plaintiff's likelihood of success on the merits.” Id. at 12-13.

       In 2007, the United States Supreme Court issued Twombly, which

emphasized the need for a plaintiff’s complaint to marshal sufficient facts to

demonstrate a “plausible entitlement to relief.” Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 559 (2007). Two years later, in Iqbal, the United States Supreme Court

refined the dismissal standard:

       To survive a motion to dismiss, a complaint must contain sufficient
       factual matter, accepted as true, to state a claim to relief that is
       plausible on its face. A claim has facial plausibility when the plaintiff
       pleads factual content that allows the court to draw the reasonable
       inference that the defendant is liable for the misconduct alleged.




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556 U.S. at 678 (internal quotation marks and citations omitted). The Iqbal Court

suggested that courts when considering motions to dismiss could “choose to begin by

identifying pleadings that, because they are no more than conclusions, are not

entitled to the assumption of truth.” Id. at 679. Having isolated “the well-pleaded

factual allegations, a court should assume their veracity and then determine

whether they plausibly give rise to an entitlement to relief.” Id.

      In 2013, the First Circuit described the Twombly and Iqbal decisions as

“watershed cases.” García-Catalán v. United States, 734 F.3d 100, 101 (1st Cir.

2013). The “plausibility standard,” the First Circuit wrote, has become “the ‘new

normal’ in federal civil practice.” Id. (quoting A.G. v. Elsevier, Inc., 732 F.3d 77, 78-

79 (1st Cir. 2013)).   The First Circuit explained that “[t]he plausibility inquiry

necessitates a two-step pavane.”      Id. at 103 (citing Rodríguez-Reyes v. Molina-

Rodríguez, 711 F.3d 49, 53 (1st Cir. 2013)). “First, the court must distinguish ‘the

complaint’s factual allegations (which must be accepted as true) from its conclusory

legal allegations (which need not be credited).’” Id. (quoting Morales-Cruz v. Univ.

of P.R., 676 F.3d 220, 224 (1st Cir. 2012)).      “Second, the court must determine

whether the factual allegations are sufficient to support ‘the reasonable inference

that the defendant is liable for the misconduct alleged.’” Id. (quoting Haley v. City

of Boston, 657 F.3d 39, 46 (1st Cir. 2011) (quoting Iqbal, 556 U.S. at 678)).

      B.     Pro Se Status of Plaintiff

      Mr. Badger is representing himself in this lawsuit. The First Circuit has

written that “as a general rule, we are solicitous of the obstacles that pro se



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litigants face, and while such litigants are not exempt from procedural rules, we

hold pro se pleadings to less demanding standards than those drafted by lawyers

and endeavor, within reasonable limits, to guard against the loss of pro se claims

due to technical defects.” Dutil v. Murphy, 550 F.3d 154, 158-59 (1st Cir. 2008); see

also Erickson v. Pardus, 551 U.S. 89, 94 (2007) (pro se complaints are to be

“liberally construed”).     Even so, “pro se status does not insulate a party from

complying with procedural and substantive law.” Ahmed v. Rosenblatt, 118 F.3d

886, 890 (1st Cir. 1997).

       C.     Additional Fact

       “Ordinarily, of course, any consideration of documents not attached to the

complaint, or not expressly incorporated therein, is forbidden, unless the proceeding

is properly converted into one for summary judgment under Federal Rule of Civil

Procedure 56.” Waterson v. Page, 987 F.2d 1, 3 (1st Cir. 1993) (citing FED. R. CIV. P.

12(b)(6)).   At the same time, there are “narrow exceptions” for “documents the

authenticity of which are not disputed by the parties; for official records; for

documents central to plaintiffs’ claim; or for documents sufficiently referred to in

the complaint.” Id. (citations omitted).

       The Defendants presented a single statement of fact with their Motion to

Dismiss, informing the Court that Mr. Badger was released from the Maine State

Prison on February 5, 2016. Statement of Fact at 1. This fact is not disputed by the

parties, as Mr. Badger has not responded to the Defendants’ Motion to Dismiss.




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The Court incorporates this fact into the record and continues to treat the

Defendants’ motion as a motion to dismiss.

IV.   DISCUSSION

      Mr. Badger filed no response to the Defendants’ Motion to Dismiss, no

response to any motions filed by any party in this case, and no objections to the

Magistrate Judge’s Recommend Decisions.         Additionally, since Mr. Badger was

released from prison, he has failed to update the Court with his current mailing

address and there is no evidence that he has received any mailings from the Court.

See Order Affirming the Recommended Decision of the Magistrate Judge at 1-2.

Despite the Court’s best efforts, it has been unable to locate Mr. Badger. Though

Mr. Badger is a pro se litigant, and the Court is solicitous of the obstacles he faces,

“[a] party, not the district court, bears the burden of keeping the court apprised of

any changes in his mailing address.” Carey v. King, 856 F.2d 1439, 1441 (9th Cir.

1988). Not only has Mr. Badger failed to meet this burden, he has failed to state a

claim for which relief can be granted.

      As the PLRA dictates, “[n]o Federal civil action may be brought by a prisoner

confined in a jail, prison, or other correctional facility, for mental or emotional

injury suffered while in custody without a prior showing of physical injury.” 42

U.S.C. § 1997e(e). A number of circuit courts have interpreted “physical injury”

under § 1997e(e) to require an injury to “be more than de minimis, but need not be

significant.” Siglar v. Hightower, 112 F.3d 191, 193 (5th Cir. 1997) (holding that

twisting an inmate’s arm behind his back and twisting his ear, causing the ear to



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bruise for three days, was a de minimis injury); see also Mitchell v. Horn, 318 F. 3d

523, 534-35 (3d Cir. 2003) (joining Fifth, Ninth and Eleventh Circuits in adopting de

minimis analysis). Mr. Badger made no allegations that either Officer Mayer or

Manning inflicted any physical injury on him: Officer Manning placed Mr. Badger

in four point restraints on two occasions and made him walk to the elevator without

any attention from medical staff. Pl.’s Aff. at 1-2. Moreover, Mr. Badger does not

allege that the Defendants’ caused the discomfort he experienced (faintness and

chest pains), and any alleged delay in treatment caused no physical injury.

      Additionally, “[a] prisoner's challenge to prison conditions or policies is

generally rendered moot by his transfer or release,” Ford v. Bender, 768 F.3d 15, 29

(1st Cir. 2014), as “[a]ny declaratory or injunctive relief ordered in the inmate's

favor in such situations would have no practical impact on the inmate's rights and

would not redress in any way the injury he originally asserted.”          Id. (quoting

Incumaa v. Ozmint, 507 F.3d 281, 287 (4th Cir. 2007)). Mr. Badger was released

from the Maine State Prison on February 5, 2016. Statement of Fact at 1. Pursuant

to Ford, Mr. Badger’s request that the Defendants lose their jobs and certifications

seeks relief beyond the authority of the Court, and all other requests for injunctive

relief are rendered moot.

      Finally, Mr. Badger’s allegations of verbal abuse from Officer Manning must

fail. The First Circuit has established that “[f]ear or emotional injury which results

solely from verbal harassment or idle threats is generally not sufficient to constitute

an invasion of an identified liberty interest.” Pittsley v. Warish, 927 F.2d 3, 7 (1st



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Cir. 1991), abrogated on other grounds, Martinez v. Cui, 608 F.3d 54 (1st Cir. 2010).

Additionally, under a 42 U.S.C. § 1983 claim, in order to recover punitive damages,

Mr. Badger must allege conduct that is shown “to be motivated by evil motive or

intent, or when it involves reckless or callous indifference to the federally protected

rights of others.” Cabral v. U.S. Dept. of Justice, 587 F. 3d 13, 24 (1st Cir. 2009)

(quoting Smith v. Wade, 461 U.S. 30, 56 (1983)). The facts as asserted by Mr.

Badger fail to show or imply any evil motive or intent by the Defendants, nor do

they allege reckless or callous indifference.

V.    CONCLUSION

      The Court GRANTS Officers Mayer and Manning’s Motion to Dismiss (ECF

No. 19).

      SO ORDERED.

                                  /s/ John A. Woodcock, Jr.
                                  JOHN A. WOODCOCK, JR.
                                  UNITED STATES DISTRICT JUDGE

Dated this 11th day of April, 2016




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